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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Bradley Hetrick,                           )
                                           )
       Plaintiff,                          )
                                           )
       v.                                  )     No. 10 C 4834
                                           )
NCO Financial Systems, Inc., a             )     Judge Norgle
Pennsylvania corporation,                  )
                                           )
       Defendant.                          )

                               STIPULATION OF DISMISSAL

       Plaintiff, Bradley Hetrick, having reached a settlement with the Defendant,

hereby stipulates to the dismissal of this action with prejudice, each party to bear their

own attorneys’ fees and costs.

Dated: September 13, 2010

One of Plaintiff's Attorneys

/s/ David J. Philipps_______
David J. Philipps      (Ill. Bar No. 06196285)
Mary E. Philipps       (Ill. Bar No. 06197113)
Philipps & Philipps, Ltd.
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Palos Hills, Illinois 60465
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The foregoing stipulation is hereby approved and this action is dismissed with prejudice,
each party to bear their own attorneys’ fees and costs.

Dated: ______________                      ENTERED:

                                           __________________________________
                                           Judge Charles R. Norgle,
                                           United States District Court

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                              CERTIFICATE OF SERVICE

       I hereby certify that on September 13, 2010, a copy of the foregoing Stipulation
of Dismissal was filed electronically. Notice of this filing will be sent to the following
parties by U.S. Mail, first class postage pre-paid, on September 13, 2010, by 5:00 p.m.

NCO Financial Systems, Inc.
c/o James K. Schultz
Sessions, Fishman, Nathan
   & Israel, LLC
55 W. Monroe
Suite 1120
Chicago, Illinois 60603

/s/ David J. Philipps__________

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